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Brad@GeyerGorey.Com
(856)-607-5708                                                               July 23, 2019
Via ECF
Magistrate Judge Steven C. Mannion
United States District Court - NJ
Martin Luther King, Jr. Federal Courthouse
50 Walnut Street
Newark, NJ 07102

       Re:     United States, ex rel. Armstrong v. Andover, et al.,
               Civil Action No. (12-3319 SDW)
               Expert Reports Deadline

Dear Judge Mannion:
        I wish circumstances did not require that I write this letter, but we need to make a special
request to this Court to postpone Thursday’s 3:30 pm conference call and to extend the deadline
for our expert reports. This request is made without objection by opposing counsel.
        John Mininno has been principally responsible for expert reports. Two weeks ago, he was
rushed to hospital and been in and out of critical condition ever since, enduring three emergency
surgeries. He has not yet been discharged. After a fourth procedure on Thursday, we are hoping
he will be discharged on Friday, but this is not at all certain. We would respectfully request we
have until next week when we can hopefully get a better idea on Mr. Mininno’s condition and at
that time will be in a better position to make a specific request for a new time for a conference
call and additional time regarding expert reports.


                                              Respectfully submitted,

Dated: July 23, 2019                          /s/ Bradford L. Geyer
                                              GeyerGorey LLP
                                              (856) 607-5708
                                              Counsel for Relator



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